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                                                                                               )
                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS                                       r.-'.


                                    EL PASO DIVISION                                       1i j


APRIL CADENA,                                  )                                             UF   L<
                                               )

       Plaintiff,                              )

V.                                             )      Cause No. 3:16-CV-00209-FM-RFC
                                               )

EL PASO COUNTY,                                )
CORIZON HEALTH, INC., and
ALEX SALAZAR, M.D.                             )

              PLAINTIFF'S RESPONSE TO DEFENDANTS CORIZON AND
                 SALAZAR'S MOTION FOR SUMMARY JUDGMENT

       Plaintiff APRIL CADENA asks the Court to deny Defendants' Motion For Summary

Judgment because there are genuine issues of material fact for each element of her claims.

                                            I. Introduction

        I.      Mrs. Cadena brings this lawsuit against Defendants Corizon and Salazar for violations

of 42 U.S.C. § 1983 ("Section 1983"). She was a prisoner in the downtown El Paso County jail.

While incarcerated, Mrs. Cadena suffered severe injuries, pain, emotional distress, and mental

anguish because of the Defendants' deliberate indifference to her serious medical needs, conditions

of confinement, and violation of her first amendment right to freedom of speech.

                                    II. Statement of Relevant Facts

        2.      Filed simultaneously with this response are the following: 1) Plaintiffs Objections

 to Defendant's Evidence; 2) Plaintiffs Statement of Facts, and 3) PlaintifPs Exhibits in Support of

 Response to Motion for Summary Judgment.

                           III. Standard of Review for Summary Judgment

         3.         Although summary judgment is proper in a case where there is no genuine issue of

 material fact, this is not a case in which the Court should grant summary judgment. See Fed. R. Civ.
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P. 56(a); Tolan v. Cotton,       U.S.     ,   134 S. Ct. 1861, 1866 (2014); Celotex Corp. v. Catrett, 477

U.S. 317, 322, 106 S.Ct. 2548, 2552 (1986).

       4.      A defendant moving for summary judgment on a plaintiff's claim must demonstrate

the absence of a genuine issue of material fact by either (1) submitting summary judgment evidence

that negates the existence of a material element of plaintiffs claim or (2) showing there is no

evidence to support an essential element of plaintiffs claim. See Celotex Corp. ,477 U.S. at 322-23;

J. Geils Band Employee Benefit Plan v. Smith Barney Shearson, Inc., 76 F.3d 1245, 1251 (Pt Cir.

1996). Defendant cannot rely on conclusory statements to establish that Plaintiff has not presented

evidence on an essential element of his claim. Rather, Defendant must demonstrate the absence of

a genuine factual dispute. See Celotex Corp., 477 U.S. at 324-25. Only if Defendant meets its burden

is Plaintiff required to respond by summary judgment proof to show a genuine issue ofmaterial fact.

 See Fed. R. Civ. P. 56(e)(3).

        5.      In determining whether there is a disputed issue of material fact that prevents

 summaryjudgment, a court must consider all evidence in the light most favorable to plaintiff as the

 nonmovant. Tolan,      U.S.      ,   134 S. Ct. at 1866; Garcia v. Pueblo Country Club, 299 F.3d 1233,

 1236-3 7 (lØt1 Cir. 2002). The Court must also resolve all reasonable doubts about the facts in favor

 of plaintiff as the nonmovant. Tolan,           U.S.   at_, 134 S. Ct. At 1866; Cooper Tire & Rubber Co.
                              (5th Cir. 2005).
 v. Farese, 423 F.3d 446, 456

                               IV. ARGUMENT AND AUTHORITIES

         6.      "For too many prisoners, the Eighth Amendment does not ensure adequate medical

 care. Prison medical providers may be aware of their constitutional obligations, but they are also well

 aware of the conflicting need to limit costs. They employ practices that functionally deny adequate

 care while appearing to address the medical concerns that prisoners have." Joel H. Thompson,

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Today's Deliberate Indifference: Providing Attention Without Providing Treatment to Prisoners with

Serious Medical Needs, 45 Harvard Civil Rights-Civil Liberties Law Review, 635, 652. (2010).

A.        Applicable Law

          7.     Section 1983 liability results when a "person" acting "under color       of' state   law,

deprives another of rights "secured by the Constitution" or federal law. 42 U.S.C.    §   1983.

          (i)    Constitutional violations for deliberate indifference to serious medical needs
                 and conditions of confinement.

          8.     In Estelle v. Gamble, the Supreme Court held "deliberate indifference to serious

medical needs ofprisoners constitutes the 'unnecessary and wanton infliction of pain' proscribed by

the Eighth Amendment. This is true whether the indifference is manifested by prison doctors in their

response to the prisoner's need or by prison guards in intentionally denying or delaying access to

medical care or intentionally interfering with the treatment once prescribed." 429 U.S. 97, 104-105

(1976).

          9.     In Wilson v. Seiter the Supreme Court held Section 1983 claims asserting conditions

of confinement in violation of the Eighth Amendment require the prisoner to prove deliberate

indifference, or callous indifference, or reckless disregard ofconstitutional rights; simple negligence

is not sufficient. 501 U.S. 294 (1991)

          10.    Deliberate indifference under both the Eighth and the Fourteenth Amendments are

subject to the same standards. Gibbs v. Grimmette, 254 F.3d 545, 548, (5th Cir. 2001).

          (ii)   Requirements for liability of local governments and private defendants.

          11.    Imposition of liability on a local governmental entity fundamentally requires

identification of a "policy" or "custom" of the government that is the moving force behind the

constitutional violation. In re Foust, 310 F.3d 849, 861 (5t Cir. 2002). See also Monell v. Dep't of


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Soc. Servs., 436 U.S. 658, 691 (1978).

        12.      When the defendants are private actors, the challenged "conduct allegedly causing

the deprivation of a federal right" must be "fairly attributable to the State" for Section 1983 to apply.
                                                                                                      (Sth
See Lugar v. Edmondson Oil Co., 457 U.S. 922,937(1982); Doe v. U.S., 831 F.3d 309,314                        Cir.

2016). The Supreme Court has used at least four tests to determine whether private conduct is "fairly

attributable to the State.   . .   ." Doe v. U.S. at 314, citing Cornish v. Con. Servs. Corp., 402 F.3d 545,

550 (5th Cir. 2005). The four tests are the "public function test," the "state compulsion test," the

"nexus" or "state action test," and the "joint action test." Cornish, at 549-5
                                                                               50.1



         13.     The Fifth Circuit does not appear to have ruled on whether Monell's requirement for

a policy or custom extends to private entities. One district court has required it. See Chambers v. A-

Avalon Con. Servs., No. 4:15-C V-387-A, 2015 U.S. Dist. Lexis 141475, at *56 (N.D. Tex. Octo.

 19, 2015). In dicta another district court noted the absence of any pleading of policy or custom. See

                                                                                    *10.
 Callaway v. City of Austin, No. A-15-CV-00103-SS, 2015 U.S. Dist. Lexis 9.1364, at

         (iii)    The Fifth Circuit's definition of policy, custom, and practice

         14.      The Fifth Circuit has the following definition of a governmental policy for purposes




         'In Cornish, the Fifth Circuit discussed the four tests:   "The 'public function test' examines
 whether the private entity performs a function which is "exclusively reserved to the State". Flagg
 Brothers. Inc. v. Brooks, 436 U.S. 149, 158,98 S.Ct. 1729,56 L.Ed.2d 185 (1978). Under the 'state
 compulsion test', a private actor's conduct is attributable to the State when it exerts coercive power over
 the private entity or provides significant encouragement. See Adickes v. S.H. Kress & Co., 398 U.S. 144,
  170-71, 90 S.Ct. 1598, 26 L.Ed.2d 142 550*550 (1970). The 'nexus' or 'state action test' considers
 whether the State has inserted 'itself into a position of interdependence with the [private actor, such] that
 it was ajoint participant in the enterprise'. Jackson v. Metro. Edison Co., 419 U.S. 345, 357-58, 95 S.Ct.
 449, 42 L.Ed.2d 477 (1974); see also Lugar v. Edmondson Oil Co., 457 U.S. 922, 937, 102 S.Ct. 2744,
 73 L.Ed.2d 482 (1982). And, under the 'joint action test', private actors will be considered state
                                                                                                        actors
 where they are 'willful participant[sj in joint action with the State or  its agents'. Dennis v. Sparks, 449
 U.S. 24, 27, 101 S.Ct. 183, 66 L.Ed.2d 185 (1980). The Supreme Court has not resolved          '{w]hether these
  different tests are actually different in operation or simply different ways of characterizing [this]
  necessarily fact-bound inquiry....' Luaar, 457 U.S. at 939, 457 U.S. 922." Cornish, at 549-550.

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of Section 1983 liability;

                          statement, ordinance, regulation, or decision that is officially adopted and
                1. A policy
                promulgated by the municipality's lawmaking officers or by an official to whom the
                lawmakers have delegated policy-making authority; or

                2. A persistent, widespread practice of city officials or employees, which, although
                not authorized by officially adopted and promulgated policy, is so common and well
                settled as to constitute a custom that fairly represents municipal policy. Actual or
                constructive knowledge of such custom must be attributable to the governing body
                of the municipality or to an official to whom that body had delegated policy-making
                authority.
                                                                        (5th
Johnson v. Deep East Texas Regional Narcotics, 379 F. 3d 293, 309              Cir. 2004) quoting Johnson

v. Moore, 958 F.2d 92, 94 (5th Cir.1992).

        (iv)    Proving constitutional violations with evidence of deliberate indifference and
                conditions of confinement.

        15.     In Farmer v. Brennan, the Supreme Court held that in order to establish an Eighth

Amendment claim under a theory of deliberate indifference, the plaintiff must show that "the official

knows of and disregards an excessive risk to inmate health or safety; the official must both be aware

of facts from which the inference could be drawn that a substantial risk of serious harm exists, and

he must also draw the inference." 511 U.S. 825, 837 (1994). The Court explained that this

"subjective recklessness" standard does not require the plaintiff to "show that a prison official acted

or failed to act believing that harm actually would befall an inmate; it is enough that the official acted

 or failed to act despite his knowledge of a substantial risk of serious harm."        J4.   at 842; see also

 Domino v. Tex. Dep't. of Criminal Justice, 239 F.3d 752,755 (5th Cir. 2001). To meet this standard,

 a plaintiffmust establish more than mere negligence, unreasonable response, or medical malpractice.

 Gobert v. Caidwell, 463 F.3d 339, 346 (5th Cir. 2006).

         16.     Circumstantial evidence may sufficiently establish the subjective recklessness

 standard. "Whether a prison official had the requisite knowledge of a substantial risk is a question

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of fact subject to demonstration in the usual way, including inference from circumstantial evidence,

and a factfinder may conclude that a prison official knew of a substantial risk from the very fact that

the risk was obvious." (citations omitted.) Farmer, 511 U.S. at 842. The Fifth Circuit has found

deliberate indifference when the plaintiff alleges facts of an apparent or obvious risk to a prisoner's

health, supporting an inference that the official had "actual awareness" of a serious medical need.2

        17.     In Bell v. Wolfish, 441 U.s. 520 (1979), the Supreme Court stated that "[i]f a

particular condition or restriction of pretrial detention is reasonably related to a legitimate

governmental objective, it does not, without more, amount to punishment."              at 539. The Fifth

Circuit addressed this issue, in Hare v. City of Corinth, making clear that a plaintiff must show

deliberate indifference on the part of the municipality only in a case in which the constitutional

violation resulted from an episodic act or omission of a state actor. 774 F.3d 633,644(5th Cir. 1996)

(en banc). In cases grounded in unconstitutional conditions of confinement, the plaintiff needs only

 show the condition has no reasonable relationship to a legitimate govermnental interest. Duvall v.

 Dallas County, 631 F.3d 203 (2011). In a conditions of confinement claim, "an avowed or presumed

 intent by the State or its jail officials exists in the form of the challenged condition, practice, rule,

 or restriction." Hare at 644. As the Fifth Circuit has recognized, "the reasonable relationship test

 employed in conditions cases is functionally equivalent to the deliberate indifference standard

 employed in episodic cases." Duvall v. Dallas County, 631 F.3d 203 (2011) quoting Scott v. Moore,



         2
           See, e.g., United States v. Gonzales, 436 F.3d 560, 573-74 (5th Cir. 2006) (upholding a finding
 of deliberate indifference when evidence established that officers failed to seek medical assistance for a
 detainee who was lying on the ground with a broken neck, "foaming at the mouth," begging for help, and
 yelling "take me to a hospital"); Austin v. Johnson, 328 F.3d 204, 210 (5th Cir. 2003) (inferring
 deliberate indifference when a minor was unconscious and vomiting for two hours before officials sought
 medical help); Harris v. Hegmann, 198 F.3d 153, 159-60 (5th Cir. 1999) (finding deliberate indifference
 when prison officials ignored repeated requests for immediate, emergency care and ignored multiple
 reports of "excruciating pain" caused by the dislocation of a prisoner's jaw).

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114 F.3d 51, 54 (5th Cir. 1997) (en banc).

       18.    In Duvall, the Fifth Circuit stated, "[E]ven where a State may not want to subject a

detainee to inhumane conditions of confinement or abusive jail practices, its intent to do so is

nevertheless presumed when it incarcerates the detainee in the face of such known conditions and

practices." Duval, 631 F.3d at 207, quoting         74 F.3d at 644.

       In some cases, a condition may reflect an unstated or de facto policy, as evidenced by a
       pattern of acts or omissions "sufficiently extended or pervasive, or otherwise typical of
       extended or pervasive misconduct by [jail] officials, to prove an intended condition or
       practice.

Duvall, at207, quoting Shepherdv. Dallas County, 591 F.3d445, 452 (5thCir. 2009), quotingH.

B.     Argument

        19.    Because prisoners are in the custody of the state and are unable to seek medical

assistance on their own, the state is under a duty to provide adequate treatment. Estelle v. Gamble,

429 U.S. 97 (1976). Deliberate indifference to serious medical needs of prisoners constitutes the

"unnecessary and wanton infliction of pain" proscribed by the Eighth Amendment. j, at 104, citing

Gregg v. Georgia, 428 U.S. 153, 173 (1976). "[A]cts or omissions sufficiently harmful to evidence

deliberate indifference to serious medical needs" of inmates constitute cruel and unusual

punishment." j, at 106; accord, Dickson v. Colman, 569 F.2d 1310, 1311 (5th Cir.) (per curiam),

cert. denied, 439 U.S. 897, 99 S.Ct. 259, 58 L.Ed.2d 244 (1978).

        20.     El Paso County shall provide safe and suitable jails for the county. Local Gov't Code,

Sec. 35 1.001. The Sheriff is the administrator and keeper of the downtown jail and is required to

 safely keep all prisoners committed to thejail. SOF 14-15; Local Gov't Code Sec. 351.034; 351.041.

        21.     Corizon contracted with El Paso County to provide medical services to the County's

 prisoners. SOF 20-29. When it was responsible for providing such care, Corizon was acting under


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color of State law. Its contract with the County to provide the services was for private conduct that

is "fairly auributable to the State" under the public function test, the nexus or state action test, and

the joint action test. See SOF 20-29; Doe v. U.S. at 314, citing Cornish v. Con. Servs. Corp., 402

F.3d 545, 550 (5th Cir. 2005), footnote 1.

        22.     Dr. Salazar was Corizon's medical director and physician for its medical clinic in the

downtownjail. SOF 17-18. He was a policymaker. SOF 18. While he was responsible for performing

his duties, Dr. Salazar was also acting under color of State law for the same reasons stated above.

        (i)     The use of LVNs to perform intake receiving screening of prisoners was a
                deliberate indifferenceto Mrs. Cadena's serious medical needs that violated her
                civil rights and was a moving force and cause of her being injured in the jail.

        23.     Not having qualified personnel to handle medical matters can result in constitutional
                                                             (5th
violations. Gates v. Collier, 501 F.2d 1291, 1301-1303              Cir. 1974) (failure to have full-time

qualified medical personnel). Corizon has a custom of using licensed vocational nurses (LVNs) to

perform intake receiving screening of prisoners. They are the only nurses it schedules to perform the

duties. SOF 31. Charles Guffey, Corizon's Regional Vice President testified Corizon uses LVNs

because they are paid less than registered nurses (RNs). It saves Corizon and the contracting entity

money. SOF 30. Dr. Salazar knew registered nurses (RNs) have more training than LVNs, and more

importantly, he knew LVNs are not supposed to do assessments. SOF 32. Dr. Salazar knew LVNs

 were performing intake receiving screening and he nevertheless allowed them to do it, saying it was

 their job. SOF 31. He even used LVNs to perform physical examinations of prisoners. SOF 31.

        24.      The receiving screening of prisoners entering the County jail serves the important

 function of determining the disposition and referrals of the inmate. SOF 31, 33-36. The person

 performing it is supposed to identif' potential clinical conditions and triage appropriately. SOF 27-

 28, 31. Dr. Salazar described triage as occurring in a hospital emergency room. He believes the jail

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is like that in terms of people coming in with all kinds of ailments, and the receiving screening is for

the purpose of figuring out what is to be done with the inmate. SOF 28. Sometimes a decision is

made to send the person to the emergency room. SOF 28.

        25.     Corizon' s intake nurses fill out a Receiving and Screening form that consists ofthree

pages. The form includes sections for Critical Observation, Vital Signs, History, Communicable

Diseases, Chronic Illnesses, Mental Health, Examination, Disposition, and Additional Comments.

It has many boxes that are marked to make a record during the intake receiving screening. SOF 33.

        26.     Performing Corizon's receiving screening duties requires the nurse to make very

important medical assessments. The Critical Observation section of the Intake Receiving Screening

form asks if any Urgent/Emergent Medical Referral, Urgent/Emergent Security Referral, and

Urgent/Emergent Mental Health Referral are needed. SOF 34. More importantly for Mrs. Cadena's

case, this section of the form also asks if the prisoner has mobility restrictions. SOF 34. The

Disposition section includes options for referrals of housing placement in the jail, and options for

referrals for additional medical, mental, or dental care. SOF 35-36. Dr. Salazar knew LVN's make

the referrals in the Critical Observation and Disposition sections. SOF 31.

        27.     Mrs. Cadena suffered a severely broken leg. Dr. Alost, orthopedic surgeon, implanted

hardware in the surgery. Providence Hospital's physical therapist determined she was unable to use

crutches and a walker. On June 22, 2014, Dr. Alost had her discharged in a wheelchair and with a

walker and instructions for her to be non-weight bearing on the leg. SOF 9.

        28.      On June 23, 2014, Nurse Portillo, LVN, performed the receiving screening of Mrs.

 Cadena. SOF 37-39. She asked if she could walk. Mrs. Cadena answered no, saying that was why

 she was in a wheelchair. Mrs. Cadena did for a moment stand up before sitting down again. SOF 39.

 In Additional Comments, Nurse Portillo noted, "Pt in wheelchair, able to stand independently." SOF

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39. Based solely on Mrs. Cadena's ability to stand up, Nurse Portillo put a slash through the box

stating she did not have a mobility restriction. SOF 38. In the disposition section, she placed a slash

through the box for GP (General Population) instead of selecting other options. SOF 38.

        29.     It can be inferred from Nurse Portillo's marks on the receiving screening form that

she made the assessment Mrs. Cadena was not mobility impaired and could be placed in the general

population based only on the fact Mrs. Cadena could stand. Corizon's use of unqualified personnel,

LVNs, to perform mobility assessments is a deliberate indifference to Mrs. Cadena and other

prisoners' serious medical needs because Dr. Salazar, Medical Director, physician, supervisor, and

policymaker, knew LVNs were not supposed to make assessments. See SOF 17-18,32. Dr. Sala.zar' s

toleration ofCorizon' s custom of using LVNs for intake receiving screening and his use of the LVNs

for this purpose, is likewise a deliberate indifference to serious medical needs and reckless disregard

to prisoners with serious medical conditions affecting their mobility.

        30.     Corizon' s custom of using LVNs for intake receiving screening was the moving force
                                                                         (5tt Cir. 2002). See also
 behind the constitutional violation. See In re Foust, 310 F.3d 849, 861

 Monell v. Dep't of Soc. Servs., 436 U.S. 658, 691 (1978). After performing the intake receiving

 screening and making its assessments, Nurse Portillo called Dr. Salazar. SOF 43. Dr. Salazar does

 not remember the conversation. SOF 43. However, we know Nurse Portillo addressed Mrs. Cadena's

 mobility because on June 23, she recorded the following telephone order from Dr. Salazar.

         Norco 1-2 tabs BID x 2 weeks F/U with orthopedic in 2 weeks - crutches to be given and
         lower bunk inmate until cleared. Woundcare to ® leg.

 SOF 43. Pursuant to the order, on June 23, Nurse Portillo prepared the following special medical

 instructions for the detention personnel: "Doctor recommends lower bunk. May keep crutches.

 Doctor recommends lockdown. SOF 44. On June 24, the instructions were issued to the floor


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detention officers. SOF 45. The unusual language, "May keep," is typical of wording used by clinic

personnel. Cpl. Pina., a detention officer for 24 years, testified "May keep" means, "[t}hey are going

to be given.. . ." SOF 61. Corizon' s own medical records show "may keep" and "keep" are intended

to mean "give." SOF 62. While there is a notation in the special instructions given to the detention

officers that states, "Wheelchair in possession" (SOF 46), it is not a special medical instruction or

order from the doctor authorizing it. Other evidence of there being no prior order and instruction for

a wheelchair is the order and special instruction of June 25 stating "may keep wheelchair," which

of course means there was no prior order or instruction for a wheelchair and that this is the order

to "give" her one. See SOF 60-62 and paragraph below.

        31.     Mrs. Cadena was placed in Ceilblock 1130, a single occupant lockdown cell, and not

 in the medical ward or Cellblock 1120 which is an ADA celiblock. SOF 50-55. On June 24, Nurse

 Portillo and a detention officer gave her the crutches and took away the wheelchair. SOF 56, 61.

 (Remember, Dr. Salazar had not authorized the wheelchair.) Later that day Det. Off. Davila and Det.

 Off. Pina had Mrs. Cadena try to walk to the clinic using the crutches. After almost falling, she was

 taken there in a wheelchair. SOF 57. In the clinic Mrs. Cadena complained she was unable to use

 crutches. SOF 58. Det. Off. Davila returned Mrs. Cadena to her cell leaving only the crutches and

 taking the wheelchair with her. SOF 59. In the morning of June 25, at 10:37, Keith Barnes, PA, gave

 an order, and a special medical instruction was given, that included, "May keep wheelchair." SOF

 60. The instruction of course means, "They are to give a wheelchair" to Mrs. Cadena. This was the

 only authorization for a wheelchair for Mrs. Cadena, and it is evidence that Mrs. Cadena no longer

 had a wheelchair. Otherwise, why give the order?

         32.     On June 25, at dinner time, a detention officer remotely opened Mrs. Cadena's cell

 door and required her to walk from her cell to the cellblock door to get her food tray. Mrs. Cadena

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was hungry and the officer would not bring her the food. Despite the no weight bearing instructions,

she walked to the celiblock door trying to use the crutches. Mrs. Cadena asked to eat at the common

room table, but her request was denied. At the door, Mrs. Cadena was given a food tray and carrying

it in her hands and holding the crutches in her armpits, she walked back to her cell. Inside her cell

she was in a lot of pain, felt weak, and was shaking. She tried to put the tray on the small table in her

cell when the drink spilled, and she slipped and fell on her bad leg. SOF 69-78.

        33.     Had Corizon not had the custom of using LVNs to perform the receiving screening

of prisoners, and had Dr. Salazar not tolerated the custom and used the LVN nurses to perform the

work, Nurse Portillo would not have been on duty to make the assessments that Mrs. Cadena did not

have a mobility restriction and could be placed in the general population. Had she not made the

assessment, Dr. Salazar would not have relied on what was said in their conversation and given the

order that authorized only the use of crutches. For these reasons, there is an affirmative link and

evidence of causation exists between the violation of her civil rights and the injuries Mrs. Cadena

sustained in the fall and the harm she experienced in the medical ward before she was released. See

SOF 77-87, 89-93, 96-98, 102-103,      Ill, 115,   119, 123-125, 129, 142, 145, 147-end.

        (ii)    The use of LVNs to perform intake receiving screening of prisoners and the
                resulting placement of Mrs. Cadena in the jail without her wheelchair was a
                condition of confinement that violated her civil rights and caused her harm.

        34.     The system of providing medical care to inmates can cause an unlawful condition of

 confinement.     çpherd v. Dallas County, 591 F.3d 445, 453-454 (5th Cir. 2009); Williams v.

 Edwards, 547 F.2d 1206, 1209, 1215-1218 (5t Cir. 1977) (medical care delivery system deprived
                                                                    (5th Cir. 1974)   (failure to have full-
 inmates of rights). Gates v. Collier, 501 F.2d 1291, 1301-1303

 time qualified medical personnel). In Shepard, the Fifth Circuit considered the jail's evaluation,

 monitoring and treatment of inmates with chronic illness before finding that serious injury and death

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were the inevitable result of the jail's gross inattention to the needs of inmates with chronic illness,

and that in the absence of legitimate penological or administrative goals, it amounted to punishment.

Shepard at 453-454. Regarding the evaluation of inmates, the Fifth Circuit considered evidence of

failure to adequately identify their health needs through appropriate intake screening and failure to

ensure inmates received thorough assessments. Shepard, at 451. Other circuits have held similarly.3

        35.      The role LVNs had in Corizon's receiving screening process, and Dr. Salazar's

reliance on them to make assessments of the mobility of prisoners and referrals for medical care and

placement in housing based on their assessments has already been discussed. Qualified personnel

are needed to perform assessments. The failure to have appropriate intake screening personnel to

make informed and thorough assessments that can be relied on for housing of prisoners and

authorizing the use of mobility aids was an unlawful condition of confinement that caused Mrs.

Cadena to fall and be injured.

         (iii)   The decision to authorize the use of crutches and not the wheelchair interfered
                 with Mrs. Cadena's orthopedic surgeon's instructions and was deliberately
                 indifferent to her serious medical needs and a reckless disregard of her medical
                 condition in violation of her civil rights that caused her injury.

         36.     Intentionally interfering with treatment prescribed by a physician can be a deliberate

indifference to serious medical needs. Estelle v. Gamble, 429 U.S. 97,         104-105 (1976).


         37.     Mrs. Cadena sustained fractures of the tibia and fibula of her right leg. Dr. Thomas

Alost performed the surgery to insert the metal rod in Mrs. Cadena's leg at Providence Hospital.

Before her discharge from the hospital, Dr. Alost had a physical therapist work with Mrs. Cadena




           In the Ninth Circuit, a physically disabled inmate placed in administrative segregation without
 access to his wheelchair was found to have a valid due process claim since "the conditions imposed on
 (the inmate), by virtue of his disability, constituted an atypical and significant hardship on him." Serrano
                                          (9th Cir. 2003, cert denied, 543 U.S. 825 (2004).
 v. Francis, 345 F.3d 1071, 1078-1079


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so she could follow his instructions to be non-weight bearing on the leg. After trying to get Mrs.

Cadena to walk with crutches and a walker, the therapist determined she could not use crutches and

might not be able to use a walker, and informed Dr. Alost. Dr. Alost then had Mrs. Cadena

discharged from the hospital with instructions to use a wheelchair and a walker. SOF 9.

       38.     Dr. Salazar authorized the use of crutches, but did not authorize the use of a

wheelchair. SOF 43-46,9-11. In deposition, Dr. Salazar deferred to the knowledge of the orthopedic

surgeon in discussing treatment of the leg saying, "I am not an orthopedic surgeon" and "that would

be up to the orthopedic surgeon." SOF 103. However, for a mobility aid, he did not.

        39.     The order to give crutches and the decision to not authorize the wheelchair interfered

with Dr. Alost's order for Mrs. Cadena to use a wheelchair to be non-weight bearing on the leg. Dr.

Salazar said the reason for his order for crutches was so Mrs. Cadena could have the option of using

crutches or a wheelchair. Salazar Dep. 69. This testimony is not credible because he did not

authorize the use of a wheelchair. It can be inferred the reason for Nurse Portillo' s telephone call was

so a decision could be made on what mobility aid Mrs. Cadena would be allowed to have. It can be

made because of the assessment there was no mobility restriction, and because of Dr. Salazar' s order

for crutches. Because a wheelchair was not authorized, there was no legitimate reason for ordering

only crutches and there is evidence of interference with Dr. Alost' s instructions to use a wheelchair

in her recovery. This interference was a reckless disregard for Mrs. Cadena's serious medical

condition that violated her civil rights and was a cause of her fall and the injuries she suffered.

        (iv)    Corizon and Dr. Salazar's consideration of non-medical factors in making
                decisions on Mrs. Cadena's medical care was a deliberate indifference to her
                serious medical needs and a violation of her civil rights that was a moving force
                and cause of her fall and injury and the delay that caused her to suffer harm.

        40.     Evidence of the making of medical decisions based on non-medical factors can


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establish a claim of deliberate indifference to serious medical needs. Medical decisions should not

be based on factors like the lack of staff or lack of interpreters, budgetary restrictions, because an

inmate is about to be released, or for punishment.4 Denying or delaying access to medical care is

actionable under Section   1983.   Hutchens v. Alabama, 466 F.2d 507 (CA5 1972) (per curium).

                a.     Assisting the County to house prisoners in a deficient facility at the
                       expense of their serious medical needs.

        41.     The detention officers who first took Mrs. Cadena to Cellblock 1130 said they did

not have any space in the County jail for a wheelchair. SOF 54. When Mrs. Cadena was taken to the

clinic by Det. Off. Davila and Cpl. Pina, the time she almost fell using the crutches, she asked Nurse

Fuentes (Sponge Bob), RN, if they would return the wheelchair explaining that she wasn't able to

walk with the crutches and had almost fallen. SOF         54, 58.   Nurse Fuentes' response is telling of a

Corizon policy or custom that caused her to be injured in the jail. Nurse Fuentes said they did not

have space on the floor for an inmate in a wheelchair! SOF 58. Nurse Fuentes responded that he

would let the doctor know, and that it was up to the doctor. SOF          58.


        42.     Commander Vargas testified inmates in wheelchairs were assigned to the medical

ward or to ADA cells. SOF 50. The wheelchair accessible celiblock for women was Celiblock 1120.


          Casey v. Lewis, 834 F. Supp. 1477, 1547-48 (D. Ariz. 1993) (finding that a lack of staff to
"diagnose and treat the serious mental health needs" of a prisoner constituted deliberate indifference).
Anderson v. County of Kern, 45 F.3d 1310, 1316 (9th Cir.), opinion amended on denial of reh'g, 75 F.3d
448 (9th Cir. 1995) (explaining that failure to provide a translator for medical encounters can constitute
deliberate indifference). Jones v. Johnson, 781 F.2d 769, 771 (9th Cir. 1986) (holding that budget
constraints could not justif' deliberate indifference to a prisoner's serious medical needs); Starbeck v.
Linn Cnty. Jail, 871 F. Supp. 1129, 1146 (N.D. Iowa 1994) (holding that refusal to allow a prisoner
surgery because the State of Iowa did not want to pay the costs of guards during the prisoner's recovery
could rise to deliberate indifference to the prisoner's serious medical need). McKenna v. Wright, 386
F.3d 432, 437 (2d Cir. 2004) (holding that an allegation that a prisoner was "denied urgently needed
treatment for a serious disease because he might be released within twelve months of starting the
treatment" was enough for a claim of deliberate indifference). Hartsfield v. Colburn, 371 F.3d 454, 457
(8th Cir. 2004) (finding that withholding a necessary dental referral because of a prisoner's behavioral
problems could give rise to a finding of deliberate indifference).

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It is an ADA celiblock only because it has a shower that is wheelchair accessible. SOF 52. An inmate

in a wheelchair in Celiblock 1130 would have to be taken to Celiblock 1120 to take a shower. This

is exactly what happened later when Mrs. Cadena took a shower after her return from UMC hospital.

SOF 110. Mrs. Cadena testified Cpl. Gunsenhouser saw she was unable to get in the shower, and

later that day returned to take her to shower in Cellblock 1120. SOF 110. A shortage of ADA cells

causes extra work. At the same time, the medical ward does not have wheelchair accessible cells.

After Mrs. Cadena was moved to the ward, she needed help to get to and from her wheelchair which

was kept outside of the double occupant cell because it could not fit. SOF 114. Additionally, the

ward is for either men or women, and not both. SOF 10. So, accommodating one female inmate in

a wheelchair in the ward can mean having to move male inmates out of the ward to other locations.

        43.    Because the Downtown County Jail is not ADA compliant, an inmate in a wheelchair

poses problems for detention officers and medical clinic personnel. There is an incentive for the

officers and medical personnel to get prisoners to use crutches. The actions of Nurse Portillo, Dr.

Salazar, and Nurse Fuentes demonstrate a custom of working with detention officers to house

inmates in available cells in deliberate indifference to their serious medical needs by having the

patient adapt to assigned cell instead of having personnel physically work to accommodate their

needs. This custom resulted in Mrs. Cadena not having a wheelchair and falling while using crutches

she was unable to use, and it was a moving force and cause of her falling and injuries.

                b.     Referring to preferred providers and delaying treatment so the County
                       pays less or so it does not have to pay at all for offsite healthcare.

        44.     Other examples of medical decisions based on non-medical factors to benefit of the

County at the expense of adequate patient healthcare is found in an examination ofthe circumstances

of not following up with UMC doctors' instructions for Mrs. Cadena to see an orthopedic surgeon


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on June 26, and the cancellation of the surgery scheduled for July 18,. It can be inferred the decisions

were made to delay or deny treatment so the County would pay less for off-site healthcare or not

have to pay at all to properly treat Mrs. Cadena.

        45.     In Corizon's response to the County's request for qualifications is the scope of the

services to be provided to prisoners in the contract. Corizon twice stated it understood the financial

responsibility for outpatient care belonged to the County, and stated as policy or custom that it would

continue to work with County personnel to minimize the need for off-site care. SOF 22-23. Dr.

Salazar admits one way to reduce expenses for off-site care is to not refer at all to offsite providers,

and another possible way is to refer to providers who charge less. SOF 25.

        46.     When Corizon and Dr. Salazar refer prisoners for offsite care, they refer them

primarily to UMC Hospital and Texas Tech. SOF 24. UMC receives ninety to ninety-nine percent

of the referrals to hospitals, but in 2014 it was paid less than Tenet Hospital. Texas Tech receives

about eighty percent of the referrals and was the fourth highest paid off-site facility. SOF 24. This

evidence shows consideration of the County's expenses are an incentive and a factor in referrals.

        47.     When Mrs. Cadena was discharged from UMC Hospital, instructions were given that

she followup with an orthopedic surgeon "in the morning"(June 26). Dr. Salazar knew the

instructions, but he selected only one provider from which to try to make an appointment, and when

he learned the first available was July 14, he accepted it and the delay of treatment for Mrs. Cadena

without trying to get an earlier appointment with another doctor. He did this despite knowing Mrs.

Cadena was seriously injured, in need of orthopedic care, and that delay could lead to complications.

SOF 97-98, 101-103. Dr. Salazar knew the leg was fractured and malaligned, and that there was no

tactile stimulus to the outside of her foot. SOF 103. He also knew the lack of tactile stimulus could

be nerve damage or caused by swelling, and he agreed that in either case, it was a dangerous situation

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for that limb part. SOF 103. He knew she was in pain. SOF 80-82, 85, 97-98, 101-102.

       48.     It was obvious even to a layperson that an orthopedic surgeon's care was required.

Mrs. Cadena describes her leg as "twisted" and "crooked" and "to the other side" and with the foot

facing the direction of the middle of her body. SOF 77, 80, 120. Nurse Fuentes saw the deformity

of the leg and noted it in his sick call notes. SOF 82, 85. Dr. Salazar knew about the deformity from

reading Nurse Fuentes' sick call notes, and he knew the deformity would not just disappear. SOF

102, 117. His only reason for not having anyone call for an earlier appointment with another surgeon

was that "she already had an appointment with Texas Tech ortho, so there would really be no need."

SOF 108. Dr. Salazar is not stupid. His record shows a preference for referring to Texas Tech, and

he did not follow the instructions and had her wait nineteen days to see an orthopedic surgeon.

       49.     The existence of actual knowledge of a serious risk to health can be inferred from

treatment of some injuries. Similarly, custom or policy can also be inferred. In Lawson v. Dallas

County, knowledge obtained from wound care was sufficient to support a judgment of a violation

of right to adequate care. 286 F.3d 257, 262263(5th Cir. 2002). In Fuller v. Harris County, a failure

to take the prisoner for surgery for nineteen days was sufficient. 137 Fed. Appx. 667, (N.D. Tex.

2015). Nurses performed wound care on Mrs. Cadena's broken leg which showed obvious signs of

need for orthopedic care. SOF 117-120. Many nurses saw her bedridden when administering

medicine to sedate her. SOF 121-126. (See below.) Too many people knew for there not to be actual

knowledge and a custom or policy of delaying or denying medical care.

       50.     On July 17, Corizon cancelled Mrs. Cadena' s surgery for July 18 and rescheduled it

for July 22. The alleged reason was she had a court setting. The setting was for ajudge's conference

for her misdemeanor case. SOF 141. Before the cancellation, on July 16, Corizon's Director of

Nurses, Marcela Aguilar, RN, sent an email to Jail Commander Vargas. While DON Aguilar did ask

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for approval of the surgery, she informed Commander Vargas of non-medical matters to consider.

She stated/misstated that Mrs. Cadena suffered a fracture prior to arrival at thejail, and informed him

of her criminal charges. SOF     140.   DON Aguilar attended Commander Vargas' weekly staff

meetings. In one meeting she informed him of the complexity of Mrs. Cadena's surgery. SOF 136.

The information given in the meeting and email set in motion Commander Vargas's effort to get

Mrs. Cadena released before her scheduled surgery. In a response to the email, he focused on DON

Aguilar's statement the injury occurred prior to incarceration. SOF 140. He says he tried to get her

released for humanitarian reasons, but is unable to explain why, except to say it was a complicated

surgery and being out of jail would make it easier for her to get to appointments. SOF 137-139.

However, he knew the surgery would be paid by the Sheriff, and by his actions he was trying to

avoid the surgery. SOF 130, 138.

        51.     Corizon and Dr. Salazar's "cooperation" with the County to reduce costs of offsite

healthcare runs hand in hand with its delaying treatment. Consideration of non-medical factors in

its medical decisions, was a deliberate indifference to Mrs. Cadena's serious medical needs. The

harm caused by this consideration is discussed elsewhere in this response. One thing to be mindful

of is that Corizon and Dr. Salazar had to deal with Mrs. Cadena's pain and her complaints of pain.

        (vi)    The sedation of Mrs. Cadena in the jail medical clinic was a condition of
                confinement and a deliberate indifference to her serious medical needs that was
                a moving force and cause of harm to her.

        52.     The medicine prescribed by Dr. Salazar did not relieve Mrs. Cadena's pain. She was

in severe pain from June27 through July 1. SOF 111, 115-116, 125. Someone prepared a Health

Services Request that has her forged signature. SOF 109, 121. The resulting Initial Psychiatric

Evaluation shows Corizon' s nurse practitioner prescribed psychotropic medicine for the alleged chief

complaint of "Yes Mam." SOF 121. Despite having reviewed the medical records, Dr. Salazar

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testified he had never seen it before. He said, "I don't know what code word it could be." When

shown a psychiatric evaluation for another prisoner that noted the chief complaint was "No mam,"

he said he did not know what that meant. SOF 122. One of the prescribed psychotropic medicines,

Vistaril, is an antihistamine similar to Benadryl. Like Benadry it is a sedative. SOF 123. One has to

wonder if she was sedated not only for pain, but also to keep her quiet and not complain.

        53.     The chart for the administration of medicine to Mrs. Cadena in July is missing from

her medical records. There is no explanation for it not being there. SOF 124. The Practitioner's

Orders shows the medicines were prescribed. SOF 112, 121. The only evidence of administration

of medicine in July is from Mrs. Cadena's testimony and her declaration. SOF 125. She says the pain

medicine given in the first few days after she returned from UMC was not enough to relieve the pain,

and then they began giving her the medicines that would make her sleep. SOF 121-126. Many nurses

administered the medicines. Sometimes she would just wake up, and then they would give her the

medicine to make her sleep. She lost days because of this practice. She was unable to go to the sun

porch, library, ministry, and could only have visitation one time. SOF 12 1-126.

        54.     Because of the sedation, Mrs. Cadena missed meals, was unable to move in general,

unable to go to the library, attend educational and religious programs, shower, enjoy indoor and

outdoor recreation time, and converse with other prisoners. She was unable to go to the sun porch,

library, ministry, and could only visit with family one time. SOF 151.

        Too many people in the jail knew there was a patient with a broken leg who was not being

properly treated with surgery for there not to be any liability on the part of Corizon and Dr. Salazar.

                                         V. CONCLUSION

        The Court should deny Defendants' motion for summary judgment and allow the case to go

to trial on all of Plaintiff's claims.

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                                                   Respectful! submitted,



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                                CERTIFICATE OF SERVICE

                                               day of________________ 20 __
                                                                                       , Plaintiffs
       I hereby certi   that on this the                                                         on
           to Defendant   Salazar and  Corizon's  Motion for Summary Judgment was served
Response                                                                                       their
                                              Defendant ALEX SALAZAR, by and through
Defendant CORIZON HEALTH iNC. and                                                      Hulse,  P.C.,
                                                   J. Ortega and the law firm of Scott
attorneys of record, Henry J. Paoli and Francisco                              Fax: 915.546-8333;
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                                                County Attorney, 500 E. San Antonio, Rm.
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Hand delivery to Henry Paoli:




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